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                     9   Attorneys for Petitioners OSMAN MOHAMMED
                         ARAB and WONG KWOK KEUNG, in their capacity
                    10   as the joint and several Trustees of the property of
                         Cheng Wai Hung and Cheng Wai Tak Terence,
                    11   Debtors in Foreign Proceedings

                    12

                    13                            UNITED STATES BANKRUPTCY COURT
                    14                            CENTRAL DISTRICT OF CALIFORNIA
                    15                                      RIVERSIDE DIVISION
                    16   In re:                                           Case No. 6:17-bk-19494
                    17                                                    Chapter 15
                         Cheng Wai Hung,
                    18                 Debtor in a Foreign Proceeding.
                    19

                    20
                                                                          Case No. 6:17-bk-19495
                    21   In re:
                                                                          Chapter 15
                    22   Cheng Wai Tak Terence,
                                                                          VERIFIED PETITION FOR
                    23                 Debtor in a Foreign Proceeding.    RECOGNITION OF FOREIGN
                                                                          PROCEEDINGS AND RELATED RELIEF
                    24

                    25

                    26            OSMAN MOHAMMED ARAB and WONG KWOK KEUNG, in their capacity as the

                    27   joint and several Trustees (together, the “Petitioners”) of the property of Cheng Wai Hung (“Wai

                    28   Hung”) and Cheng Wai Tak Terence (“Wai Tak,” together with Wai Hung, the “Debtors”),

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                     1   creditors.   Absent such relief, the Petitioners, creditors, and the Debtors’ estates may be

                     2   irreparably harmed by the Debtors’ disposition or transfer of their assets. Consequently, in

                     3   addition to the relief set forth herein, the Petitioners are, by separate application, seeking an order

                     4   granting the following provisional relief:

                     5                          (a)     staying execution against the Debtors’ assets; and

                     6                          (b)     suspending the rights of the Debtors and any other party to transfer,

                     7   encumber, or otherwise dispose of any property of the Debtors in the United States.

                     8                                                    VII.

                     9                OTHER FOREIGN PROCEEDINGS INVOLVING THE DEBTORS
                    10           Pursuant to section 1515 of the Bankruptcy Code, a Chapter 15 petition must “be

                    11   accompanied by a statement identifying all foreign proceedings [as defined in the Bankruptcy

                    12   Code] with respect to the debtor that are known to the foreign representative.” See 11 U.S.C.

                    13   § 1515(c).

                    14           Other than the Hong Kong Proceedings, the Petitioners are not aware of any other foreign

                    15   proceedings pending involving the Debtors. The Petitioners will promptly inform this Court if

                    16   they become aware of any such foreign proceedings, or if they commence a foreign proceeding in

                    17   another jurisdiction to aid in the administration of the Debtors’ assets.

                    18                                                   VIII.

                    19                                                 NOTICE

                    20           Pursuant to section 1517(c) of the Bankruptcy Code, a petition for recognition shall be

                    21   decided at the “earliest possible time.” By the Scheduling Motion, the Petitioners have requested,

                    22   among other things, that this Court set the date for the hearing (the “Hearing”) on recognition and

                    23   relief at the earliest possible time after December 18, 2017.

                    24           As soon as the Hearing is scheduled, the Petitioners will cause a copy of the Chapter 15

                    25   form petition, this Petition and the Notice of Filing and Hearing on Petition under Chapter 15 of

                    26   the United States Bankruptcy Code (the “Notice”), to be served upon: (a) the Debtors; (b) the

                    27   Provisional Relief Parties (as defined in the Scheduling Motion); and (c) the U.S. Trustee.
                    28   Further, the Petitioners will cause the Notice to be published in the San Diego Union-Tribune and
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